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                          IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


ALFREDO MEDRANO, Individually;
OLGA ALANIZ, Individually; & on behalf of
G.A.M. & F.M., Minor Children,

        Plaintiffs,

v.                                                      No. 1:20-cv-00950-KG-LF

STATE FARM MUTUAL
AUTOMOBILE INSURANCE COMPANY,

        Defendant.

                           ORDER OF DISMISSAL WITH PREJUDICE

        THIS MATTER having come before the Court upon the Motion of the Plaintiffs [Doc. 8], all

parties having concurred and the Court being fully advised in the premises,

        FINDS that the Court has jurisdiction over the parties and the subject matter herein,

        FINDS that the Motion is well taken and should be granted.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Complaint of the

Plaintiff herein and all claims which could have been asserted therein are dismissed with prejudice,

with all parties to bear their own costs and attorney fees.



                                                _________________________________________
                                                UNITED STATES DISTRICT JUDGE
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SUBMITTED BY:


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